            Case 2:13-cr-00393-MCE Document 10 Filed 07/31/13 Page 1 of 2


 1   BENJAMIN B. WAGNER
     United States Attorney
 2   JUSTIN L. LEE
     Assistant U.S. Attorney
 3   501 I Street, Suite 10-100
     Sacramento, CA 95814
 4   (916) 554-2700
 5

 6

 7

 8                        IN THE UNITED STATES DISTRICT COURT

 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,              ) 2:13-MJ-0222-KJN
                                            ) 2:13-MJ-0223-KJN
12               Plaintiff,                 )
                                            ) STIPULATION AND ORDER
13         v.                               ) CONTINUING PRELIMINARY HEARING
                                            ) DATE
14   MATTHEW LUKE GILLUM and                )
     JOLENE CHAN,                           )
15                                          ) Judge: Hon. Allison Claire
                                            )
16               Defendants.                )
                                            )
17

18                                     STIPULATION

19         The United States, by and through its undersigned counsel, and

20   the defendants, by and through their counsel of record, hereby

21   stipulate as follows:

22      1. At the defendants’ initial appearance on July 24, 2013, this

23         matter was set for a Preliminary Hearing on August 8, 2013.

24      2. By this Stipulation, the parties now move to continue the

25         Preliminary Hearing until August 15, 2013, at 2:00 p.m.

26   ///

27   ///

28   ///


     Stipulation to Continue                 1         United States v. Gillum et al.
            Case 2:13-cr-00393-MCE Document 10 Filed 07/31/13 Page 2 of 2


 1   IT IS SO STIPULATED.

 2

 3   DATED: July 30, 2013                /s/ Justin L. Lee   _
                                       JUSTIN L. LEE
 4                                     Assistant U.S. Attorney
 5   DATED: July 30, 2013                /s/ Thomas A. Johnson     _
                                       THOMAS A. JOHNSON
 6                                     Attorney for Matthew Gillum
                                       (as authorized on July 25, 2013)
 7

 8   DATED: July 30, 2013                /s/ Michael L. Chastaine     _
                                       MICHAEL L. CHASTAINE
 9                                     Attorney for Jolene Chan
                                       (as authorized on July 27, 2013)
10

11

12                                         ORDER

13         IT IS SO FOUND AND ORDERED, this 30th day of July, 2013.

14

15
                                         _________________   ______
16                                     Hon. Allison Claire
                                       United States Magistrate Judge
17

18

19

20

21

22

23

24

25

26

27

28


     Stipulation to Continue                 2         United States v. Gillum et al.
